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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

KEITH MUMPHERY,                                  :
                                                 :
                                    Plaintiff,   :
                                                 :          Civil Action No. 1:18-cv-00576
          v.                                     :
                                                 :          Hon. Janet T. Neff
MICHIGAN STATE UNIVERSITY,                       :
MICHIGAN STATE UNIVERSITY BOARD                  :
OF TRUSTEES; LOU ANNA SIMON, individually :
and as agent for Michigan State University, LIZ  :
ABDNOUR, individually and as agent for Michigan :
State University, ANDE DUROJAIYE, individually :
and as agent for Michigan State University, RICK :
SHAFER, individually and as agent for Michigan   :
State University,                                :
                                                 :
                                    Defendants.  :

                        JOINT NOTICE REGARDING MEDIATION

       The Parties in the above-caption case, in accordance with the Court’s December 26, 2018

Order [ECF No. 24], provide notice to the Court that they completed mediation on February 28,

2019. While the mediation did not result in a settlement of the case, the Parties would like two

more weeks to continue their ongoing settlement discussions that have followed the mediation.

The Parties hereby request until March 29, 2019 to continue settlement discussions before a

briefing schedule is put in place for Motions to Dismiss.




                                    [ Signature page follows ]
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Respectfully submitted,

s/ Stuart Bernstein                     s/ Michael E. Baughman
_____________________________           _____________________________
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                                        of Trustees, Lou Anna Simon, Ande
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                                        s/ Eric Kendall Combs
                                        _____________________________
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Dated: March 14, 2019




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                               CERTIFICATE OF SERVICE

              I certify that on March 14, 2019, pursuant to Local Rule 5.7, I filed the above

Joint Notice Regarding Mediation through the Court’s Electronic Case Filing (ECF) system.



                                            s/ Michael E. Baughman
                                            _____________________________
                                            Michael E. Baughman, Esq.




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